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AFFIDAVIT OF SPECIAL AGENT THOMAS F. KING

I, Thomas F. King, being duly sworn, depose and state as

follows:
I. INTRODUCTION
1. I am a Special Agent with the Federal Bureau of
Investigation (“FBI”). I am submitting this affidavit in support

of the government’s motion that the following individuals be
detained pending trial: JOUSEPH CARABALLO, a/k/a “King Massa,”
JUAN SERRANO, a/k/a "King Poppy," TERRILL McKISSACK, a/k/a
“Ralphy,” RAPHAEL PINEDA, a/k/a “Raffy,” GABRIEL VAZQUEZ,
EZEQUIEL QUINONES, a/k/a “Flex,” JAVIER NATAL, a/k/a “Lito,” LUIS —
GUERRA, a/k/a “Ant,” GIOVANNI VALE-VALEINTIN, a/k/a “Gio,” MANUEL
TORRES, JESUS CARRASQUILLO, PEDRO FIGUEROA, RAMON SANCHEZ, JORDAN
JORGE, FELICIA TIMOTEO, ENOE CARRASQUILLO, JESMEIL ORTIZ, and
MARI GOMEZ (hereinafter referred to as "the Targets"). All of
the Targets were charged with various drug distribution offenses
on June 7, 2012. Each of the individuals listed above are
alleged to be leaders, members, significant criminal associates,
or drug suppliers to the Latin Kings street gang operating in New
Bedford, Massachusetts.

2. I have been employed by the FBI for over fifteen years.
Prior to joining the FBI, I was a police officer for the
Worcester, Massachusetts Police Department for nine years,
achieving the rank of Detective Sergeant. For the past six

years, I have been assigned to the FBI’s Southeastern

 
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Massachusetts Gang Task Force (hereinafter the “Task Force”).

The Task Force is comprised of agents, officers and deputies from
the FBI, the Massachusetts State Police, the New Bedford Police
Department, the Massachusetts Parole Board, and the Bristol
County Sheriff's Department. The mission of the Task Force is to
identify, investigate, disrupt, and dismantle violent gangs
operating in southeastern Massachusetts.

3. This is the second time in six years that the FBI Task
Force has conducted an investigation into the Latin Kings in New
Bedford. In 2006, the Task Force, working in conjunction with
the New Bedford Police Department, identified the Latin Kings as
the gang responsible for significant amounts of drug trafficking
and gun violence in New Bedford.! After a year-long
investigation, the United States Attorney's Office charged
fifteen Latin King gang members or associates with drug

trafficking offenses. Twenty-two other Latin Kings were

 

' Including this case, the Task Force has conducted four

long-term, multi-defendant investigations in New Bedford in the
past six years. In addition to the two Latin Kings
investigations discussed above, the Task Force spent two and a
half years conducted a lengthy investigation of two violent,
warring New Bedford street gangs: United Front and Montes Park.
The Task Force targeted these gangs because they had a well-
documented history of committing murders and other acts of
violence and retaliatory violence against each other. By 2009,
at the end of the Task Force's investigation, a total of 24
members of both gangs were charged in federal court with various
drug and firearm offenses. Those areas of New Bedford formerly
controlled by the Montes Park and United Front gangs remain --
relatively speaking -- quiet.

 
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prosecuted in state court by the Bristol County District
Attorney's Office. The detention affidavit filed in the first
FBI investigation, attached hereto, and incorporated by reference
herein, as Exhibit 1, described how members of the Latin Kings
used violence to control the lucrative crack cocaine market in
the north end of New Bedford, the area of the city most closely
associated with the gang.

4, Based on the affidavit filed in the first Latin King
case, detention affidavits filed in other federal Latin King-
related investigations in the District of Massachusetts,
information concerning the Latin Kings submitted in other courts
across the United States and, most importantly, my own

participation in this investigation and the 2007 investigation,’

 

* In the course of developing intelligence about the Latin

Kings, agents participating in this investigation have spoken to
confidential informants and cooperating witnesses regarding the
gang and its operations. These individuals include current or
former members of the Latin Kings who were personally familiar
with the gang, its operations, and its leaders. The information
about the Latin Kings and its operations provided herein
represents a summary of information provided by these
individuals, by various cooperating witnesses, and information
obtained from other sources. The information provided by
individual informants has been corroborated by comparing it to
information given by other cooperators, information learned by
reviewing consensually recorded telephone calls from area
correctional facilities where Latin King members are
incarcerated, letters intercepted or confiscated from area
correctional facilities where Latin King gang members are
incarcerated, and from other sources, including postings by some
of the Targets on public social media sites like Facebook and
consensually recorded conversations that took place over the
course of the investigation.

 
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I know that the Latin Kings are a violent street gang with
thousands of members across the United States and oversees. The
traditional power centers for the Latin Kings are located in the
Chicago and New York metropolitan areas. The Latin Kings have a
detailed organizational structure, which is outlined - along with
various “prayers,” codes of behavior, and rituals - in a written
“manifesto” widely distributed to members throughout the country,
including Massachusetts.

5. Members of the Latin Kings often greet each other, and
show their membership in the gang, using a set of hand signs
intended to evoke the shape of a crown. In addition, Latin Kings
often greet each other, demonstrate their allegiance to the gang,
or simply announce their presence, by exclaiming “ADR” or “Amor
De Rey,” which means “King’s Love” in Spanish. Members of the
Latin Kings often demonstrate their affiliation with the gang by
wearing clothing with black and gold, colors associated with the
gang, or wearing clothing incorporating some of the gang’s
symbols, such as a five pointed crown.

6. The Kings operate local chapters throughout
Massachusetts, including New Bedford, Springfield, Holyoke,
Worcester, Lawrence, Lowell, and Chelsea, among others. The
Latin Kings also operate chapters inside many correctional
facilities. Much of the revenue used to operate the Latin Kings

flows from the illegal activities of its members. Gang members

 
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traffic in illegal drugs and are expected to remit a portion of
their drug proceeds to the local leadership. The atmosphere of
interdependence that pervades the Latin Kings also results in the
use of violence to protect the illegal activities of gang
members. Unwanted competition from other drug traffickers, turf
threats from rival gangs, or any conduct that is perceived to be
disrespectful to the Latin Kings or its members, often results in
organized violence or shootings by the Latin Kings. According to
the New Bedford Police Department, street level drug sales are
largely controlled by the Latin Kings in the area of Tallman
Street, Ashley Boulevard, North Front Street, and Bullard Street.
That area is also a source of repeated calls for service
(essentially, a request for police assistance), shots fired
calls, shootings, assaults, and murders, as the Latin Kings seek
to preserve their drug turf through violence and become targets
of retaliatory violence.

II. THE REORGANIZATION OF THE LATIN KINGS IN NEW BEDFORD

7. The 2006 investigation significantly disrupted the
Latin Kings in New Bedford and the north end of the city was
quiet for several years. Beginning in 2010, law enforcement
officials noted a significant increase in drug sales and violence
in the north end and also received information that the Kings
were reorganizing in earnest. On June 27, 2010, the Task Force

conducted surveillance of a Latin King gang meeting at 239 Ashley

 
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Boulevard, an apartment complex where several Latin Kings lived.
Agents observed 20-25 Latin King gang members enter the building
and received reliable information that three New York-area Latin
Kings attended the meeting. Agents received information that the
New Bedford chapter was attempting to be "blessed" by New York
and officially become a part of that chapter.

8. On October 30, 2010, RICARDO ENCARNACION, a/k/a
"Ricky," a prominent member of the Latin Kings, was shot and
killed early in the morning in front of his home on North Front
Street in New Bedford's north end. Several hours after the
murder, officers from the New Bedford Police Department's Gang
Unit photographed dozens of Latin Kings at the scene of the
murder. At least two of the Targets, JOUSEPH CARABALLO, a/k/a
"King Massa," and EZEQUIEL QUINONES, a/k/a "Flex," were present
during the gang's impromptu display of strength. Many of the
assembled Latin Kings dressed in black and gold and were
photographed throwing Latin King gang signs. CARABALLO was
photographed taking a picture of the assembled Latin Kings as the
group posed for a picture. Latin King gang members constructed a
street memorial for ENCARNACION at the scene of the murder which
remained in place for several months. They also gathered at the
murder scene at the five-month anniversary of ENCARNACION’s
murder (as there are five points in the Latin King crown, the

fifth month carries special significance for the gang).

 
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9. A few days after ENCARNACION’s murder, agents
photographed dozens of Latin King gang members at ENCARNACION's
wake in Springfield, Massachusetts. The Task Force photographed
many known Latin Kings from New Bedford as well as Latin Kings
from the Springfield and New Haven, Connecticut, chapters of the
gang. Agents photographed the following Targets at the wake:
TERRILL McKISSACK, wearing a black hoodie with a five-pointed
crown on the sweatshirt; GABRIEL VAZQUEZ, wearing a black and
gold New Orleans Saints hat and yellow and black beads; and
JOUSEPH CARABALLO, a/k/a “King Massa,” who wore a black and gold
shirt, jacket and hat.

10. In addition to the significant upswing in drug
trafficking and violence in the north end of New Bedford, law
enforcement officials also learned of instances where the gang
attempted to use intimidation to achieve its objectives. For
instance, on March 17, 2012, JOSE CARRION, a/k/a "King Nony," a
self-admitted Latin King, stabbed Melvin Pina to death in New
Bedford (his case is still pending). After Pina’s death,
Detectives executed a search warrant on CARRION's cellular
telephone. On the phone, agents found photographs of the first
page of the grand jury testimony of EDWIN JORGE, a Latin King
gang member, who was testifying against a fellow gang member in
another murder case, COMMONWEALTH v. SETH ANDRADE. The

photographs did not contain EDWIN JORGE’s entire grand jury

 
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transcript but captured enough detail so that a reader would know
that EDWIN JORGE had testified. JORGE testified before a state
grand jury that ANDRADE had admitted committing the 2010 murder
of Arthur Burton in New Bedford.

11. During the ANDRADE murder trial, prosecutors announced
that EDWIN JORGE would testify on March 29, 2012. On March 29th,
several gang members, including two Latin Kings -- TERRILL
McKISSACK, one of the Targets of this investigation, and TYRONE
SOLANO, a Latin King who has been convicted of being an accessory
after the fact for the Arthur Burton murder? - appeared at the
ANDRADE trial for the first time. Upon seeing the gang members
in the courtroom, EDWIN JORGE stated he was afraid to testify and
refused to do so. The next day, Bristol County prosecutors moved
to bar members of the Latin Kings (and other gang members) from
the courtroom, arguing that MecKISSACK, SOLANO, and the other gang
members had been present solely to intimidate EDWIN JORGE. The
prosecution also made the judge aware that photographs of EDWIN
JORGE's grand jury testimony had been disseminated to another
Latin King gang member (who was himself charged with murder)
several weeks before his trial testimony.

12. After an evidentiary hearing, Superior Court Judge

 

° SOLANO had been convicted of being an accessory after the
fact. He received a short house of correction sentence which he
had completed serving at the time of ANDRADE's trial.

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Barbara Dorch-Okara ordered MecKISSACK, SOLANO, and several other

gang members out of the courtroom. According to the Court

transcript, Judge Dorch-Okara found as follows:
The Court is of the opinion that these individuals pose
a risk to the security of the court, in particular to
Mr. Jorge . . . it appears that these gentlemen were
here present in the court yesterday on a date in which
the Court and public were advised that Edwin Jorge was
scheduled to testify. It does not appear that all of
these gentlemen were here on previous dates of the
trial. It appears based on the testimony that various
gangs are represented in these individuals. They're

not all of one affiliation, and it appears that they
are not here solely to support the defendant

During the hearing on the prosecution’s motion to limit access to
the courtroom, McKISSACK remained outside the courtroom but sent
his girlfriend into the courtroom to monitor the proceedings.
After one of the homicide detectives identified her as
McKISSACK's girlfriend, she too was excluded from court.

13. ANDRADE was convicted of first degree murder. SOLANO
was charged by Bristol County prosecutors with dissemination of
EDWIN JORGE's grand jury minutes to JOSE CARRION, a/k/a “King
Nony" (SOLANO had received the grand jury minutes for the ANDRADE
trial as part of pre-trial discovery in his own accessory after
the fact to murder case). That case is pending. On May 20,
2012, SOLANO was shot and stabbed repeatedly in the south end
section of New Bedford. He has to date refused to identify his

assailants to law enforcement.

 
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III. THE TARGETS

14. Given the increase in drug trafficking and violence in
the North End and the intelligence developed concerning the
violence associated with the Latin Kings, the Task Force began
directing cooperating witnesses to make controlled purchases of
drugs from leaders, members and significant associates of the
Latin Kings in New Bedford. The FBI's investigation targeted
those individuals who are members of the Latin Kings gang members
or closely associated with the gang, such as drug suppliers to
the gang. Utilizing cooperating witnesses and undercover police
officers, the Task Force has spent the past eighteen months
purchasing crack cocaine and heroin from the Targets.

15. The following is a list of Targets together with a
brief synopsis of their connection to the Latin Kings and other
information relevant to detention. Information set forth below
comes from sources I consider to be reliable including, among
other things, what the Targets did and said over the course of
the investigation.

A. JOUSEPH CARABALLO, a/k/a “King Massa.”

16. During the investigation, the Task Force identified
CARABALLO as a senior member of the Latin Kings. Agents received
information that CARABALLO had come to New Bedford from New
Jersey in order to help reorganize the New Bedford chapter of the

Latin Kings. On October 30, 2010, agents photographed CARABALLO

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on October 30, 2010 as CARABALLO photographed dozens of Latin
King gang members at the scene of RICARDO ENCARNACION's murder.
They also photographed CARABALLO in Springfield as he arrived at
ENCARNACION's wake wearing black and gold clothes and a black and
gold hat. On March 30, 2011, CARABALLO and other Latin Kings
were observed at a street memorial for ENCARNACION on the five-
month anniversary of his murder (the fifth month signifies the
five points on the Latin King crown). CARABALLO has an "LK"
tattoo on his abdomen and on his face. Law enforcement agencies
in New Jersey list CARABALLO as a member of the Latin Kings with
the notation: "criminal gang member -- caution.”

17. On January 4, 2011, CARABALLO sold crack cocaine to an
undercover police officer. On June 8, 2011, CARABALLO and his
wife, SINTIA NATAL, while pushing a small child in a stroller,
sold heroin to an FBI CW. On May 5, 2011, an FBI CW had made
arrangements to purchase crack cocaine from JAVIER NATAL, a/k/a
"Lito," another federal Target. When the CW arrived on Tallman
Street, in the heart of Latin King territory, the CW bumped into
CARABALLO. CARABALLLO asked the CW what he was looking for. The
CW said it was looking for "Lito" and said, "I told him I was
coming up. I need to get it from him." CARABALLO told the CW to
buy from CARABALLO instead and assured CW-1, "It's the same

thing." CARABALLO started to walk away, but then came back:

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Caraballo: Lito?

CW-1: Yeah. Little kid. He told me he'd be here.

Caraballo: We're brothers. Call him. Tell him it's
Massa.

When CW-1 told CARABALLO that the phone number it had for NATAL
was not working, CARABALLO called NATAL on CARABALLO's cell
phone. When the CW told CARABALLO it would wait for NATAL,
CARABALLO told the CW, "I was gonna get you five" (i.e., five
rocks), then left. As CARABALLO walked away, the CW asked,
"What's your name?", and CARABALLO replied, "Massa." According
to information received from the Massachusetts Department of
Correction, CARABALLO’s street name, "Massa," is short for
"Massacre,"

18. CARABALLO has a conviction from the New Bedford
District Court for assault with a dangerous weapon. He also has
an extensive criminal history in New Jersey, including three
convictions for burglary and a conviction for resisting arrest.

B. JUAN SERRANO, a/k/a "King Poppy."

19. SERRANO has been identified as a Latin King by the New
Bedford Police Gang Unit. In 2007, he was prosecuted in federal
court in the first FBI Latin Kings case for selling crack cocaine
to an FBI CW. On November 3, 2011, while still on supervised
release from his federal conviction, SERRANO sold heroin to an

FBI CW on Bullard Street, in the heart of Latin King territory.

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SERRANO also has a 2010 conviction for distribution of crack
cocaine.

Cc. TERRILL McKISSACK, a/k/a ‘“Ralphy.”

20. TERRILL McKISSACK has been identified by the New
Bedford Police Department Gang Unit as a prominent member of the
Latin Kings. As noted above, he was photographed at the
ENCARNACION wake and funeral wearing a black hoodie with a yellow
crown and was also seen by agents at the street memorial for
ENCARNACION with several other Kings on the five-month
anniversary of his murder. MeKISSACK was present in state court
with another Latin King for the attempted intimidation of EDWIN
JORGE during the ANDRADE murder trial.

21. In 2008, McKISSACK was convicted of assault and battery
with a dangerous weapon (pipe and shod foot) and intimidation of
a witness. According to police reports, officers responded to a
shooting and spoke with a witness to the shooting, made an
arrest, and recovered the firearm. The witness was named in the
police report. After that case was charged, the witness was
confronted by a man who asked if he was the one who "snitched."
A group of four to eight men - including McKISSACK, wielding a
metal pipe - then beat the witness. The witness was taken to a
local hospital and then transferred to Brigham and Women's
Hospital in Boston for treatment. When he was released, he

identified MeKISSACK from a photo array as the man who had beat

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him with a pipe. McKISSACK was sentenced to three years in state
prison for assault and battery with a dangerous weapon and was
placed on probation for intimidation of a witness. MecKISSACK was
on probation for this offense when, on April 21, 2011, he sold
crack to the CW.

22. McKISSACK also has two convictions for larceny: one
from 2006 in Bristol Superior Court, after which he ultimately
served six months in prison as a result of a probation violation;
and a second from 2005 in New Bedford District Court to which,
again as a result of a probation violation, he served a year in
prison. McKISSACK also received a continuation without a finding
in 2006 for conspiracy to violate the controlled substances act.

D. RAPHAEL PINEDA, a/k/a “Raffy.”

23. PINEDA has been identified by the New Bedford Police
Department Gang Unit as a member of the Latin Kings. PINEDA was
one of the targets charged in state court as part of the 2007
Latin Kings case and pled guilty to distributing cocaine. In
2006, PINEDA received a supervised continuation without a finding
for two counts of distributing cocaine. On September 12, 2011,
PINEDA sold crack cocaine to a CW at PINEDA’s home at 76 Beetle
Street.

24. PINEDA has a larceny from the person case pending in
state court. According to police reports, officers arrested an
individual on a warrant and, while at booking, the individual

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said he wanted to file a report concerning a robbery that had
taken place a few days before. The victim said that four Latin
King gang members assaulted him while he was walking on Beetle
Street. The victim identified one of the men as PINEDA and said
that PINEDA took the man's backpack containing two laptop
computers. The man admitted to New Bedford Police officers that
he owed PINEDA $150 for a drug debt and said he paid PINEDA $20 a
week to pay off the debt. The victim told officers that, once he
had paid off the drug debt, he went to PINEDA's apartment, which
he correctly identified as being on the third floor of 76 Beetle
Street. When he asked for his computers back, PINEDA told him,
"You're not getting them back. And you just got burned." Ina
subsequent interview, PINEDA denied knowing the victim or having
his computers. The case is pending.

E. GABRIEL VAZQUEZ

25. Both the Bristol County Sheriff's Department and the
New Bedford Police Department have identified VAZQUEZ as a Latin
King. VAZQUEZ was photographed at the ENCARNACION wake with
TERRILL McKISSACK and JOUSEPH CARABALLO. In 2006, VAZQUEZ was
convicted of possession with intent to distribute cocaine and
unlawful possession of a firearm and served eighteen months in
prison. In 2008, VAZQUEZ was convicted again of possession with
intent to distribute cocaine. After serving a six month prison

sentence, VAZQUEZ was placed on probation and was on probation

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for this offense when, on November 9, 2010, he sold crack to an
undercover police officer.

F. EZEQUIEL QUINONES, a/k/a “Flex.”

26. The New Bedford Police Department Gang Unit has
identified QUINONES as a member of the Latin Kings. Hours after
the ENCARNACION murder, QUINONES was photographed with dozens of
other Latin King gang members at the murder scene. QUINONES
stood with a group of other Latin Kings as they gathered together
for a photograph at the murder scene. The photograph was taken
by JOUSEPH CARABALLO, a/k/a "King Massa." Many of the Kings in
the photograph (though not QUINONES) held their hands together to
make a crown, a Latin King gang sign, and wore black and gold,
colors for the Kings.

27. QUINONES's drug sale illustrates the degree to which
the Kings control street level drug sales in the north end of New
Bedford. As noted above, on May 5, 2011, the CW traveled to
Tallman Street to purchase crack cocaine from JAVIER NATAL, a/k/a
"Lito." While waiting for NATAL, the CW was approached by
CARABALLO, who urged the CW to buy from him rather than wait for
NATAL because he and NATAL were "brothers." After CARABALLO
left, the CW met with QUINONES, who was also on Tallman Street.

When the CW complained to QUINONES about NATAL, "Where is this

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kid?", QUINONES replied, "He'll come. He'll come." After a few
more minutes, the CW and QUINONES had the following exchange:
CW-1: This kid's blowing me off. I'm gonna cancel.
I don't really know that dude right there
[referring to CARABALLO] but he told me he's
got the same stuff as Lito, but

Quinones: I've got the same stuff.

Cw-1: That's what I figured because you guys were
working together before.

After conferring with agents by phone, the CW purchased crack
cocaine from QUINONES inside the front hallway of 119 Tallman
street.

28. QUINONES has a possession with intent to distribute
heroin in a school zone case pending in New Bedford District
Court. He has prior convictions for possession with intent to
distribute heroin and marijuana, assault with a dangerous weapon,
intimidation of a witness, and violating an abuse prevention act
order.

G. JAVIER NATAL, a/k/a “Lito.”

29. The New Bedford Police Department's Gang Unit has
identified NATAL as a Latin King. He has a five-point crown
tattooed on his hand. As noted above, on May 5, 2011, while on
Tallman Street in the heart of Latin King territory, JOUSEPH
CARABALLO assured the CW that he and NATAL were "brothers" and
that the CW could purchase crack from CARABALLO because it was
the "same thing." Later that day, EZEQUIEL QUINONES, a/k/a

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"Flex," another Latin King gang member, told the CW that his
crack was the same as NATAL's. On May 19, 2011, NATAL sold crack
cocaine to the CW at the P & D Market, located at the
intersection of Tallman Street and Ashley Boulveard, just up the
street from where the conversation with CARABALLO and the buy
from QUINONES took place.

30. On April 27, 2010, New Bedford Police executed a search
warrant at 1566 Acushnet Avenue in New Bedford. NATAL was
present in the target apartment from which officers seized
several street level bags of cocaine under a sofa. NATAL and
others were charged with possession with intent to distribute
cocaine.

31. While NATAL was on bail on that case, officers executed
a state search warrant for WILLIAM FIGUEROA, a New Bedford Latin
King, at 178 Ashley Boulevard, second floor. Once inside the
building, they encountered NATAL and seized 20 twists of crack
from him. NATAL was again charged with possession with intent to
distribute cocaine. On September 16, 2011, NATAL pled guilty to
both possession with intent to distribute cases. He was
sentenced to 18 months in prison, 60 days to serve, balance
suspended until 2013. On March 12, 2012, while on probation for
these offenses, NATAL was again arrested by New Bedford police

after officers saw him engage in a hand to hand street level drug

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sale. NATAL pled guilty and on May 1, 2012 was sentenced to 1
year in prison.

H. LUIS GUERRA, a/k/a “Ant.”

32. The New Bedford Police Department's Gang Unit has
identified GUERRA as a Latin King. In 2011, GUERRA posted on his
public Facebook page: "To all my brothers and sisters keep dat
9," a reference to the five points in the Kings crown. At
another date, GUERRA posted on Facebook a picture of himself
forming a crown with his hands in front of his face.

33. GUERRA has been convicted of three drug trafficking
offenses in the past ten years. In 2002, GUERRA sold an
undercover police officer 150 bags of heroin for $600. Another
50 bags of heroin were seized from him at the time of his arrest.
GUERRA was convicted of distribution of heroin and sentenced to
two and a half years in prison, 18 months to serve, balance
suspended for two years. In 2004, GUERRA was arrested in his
apartment in possession of 96 grams of cocaine and charged with
trafficking in cocaine. In 2005, while on bail for the earlier
trafficking case, New Bedford Police officers executed a search
warrant at GUERRA's apartment. As they approached the apartment,
two bags were thrown out the window: one bag contained 10
smaller bags of crack cocaine. The other bag contained five
bags, and each of the five bags contained numerous twists (22,

three bags of 20, and 18) of crack cocaine. In total, officers

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seized 183 bags of crack (approximately 83 grams) from inside the
apartment, as well as a scale and other packaging material. On
both trafficking cases, GUERRA received concurrent 6 year state
prison sentences.

I. GIOVANNI VALE-VALENTIN, a/k/a “Gio.”

34. The New Bedford Police Department Gang Unit has
identified VALE-VALENTIN as a Latin King. Officers have observed
VALE-VALENTIN with EZEQUIEL QUINONES, PEDRO FIGUEROA, and other
Latin Kings. In 2010, VALE-VALENTIN and EDWIN JORGE were stopped
by the police as they fled from the area of a shooting. A
witness identified VALE-VALENTIN as one of two men with JORDAN
JORGE, the shooter (JORDAN JORGE was acquitted at trial).

35. VALE-VALENTIN's drug sales in this investigation took
place at or outside his home at 111 Tallman Street in New
Bedford, across the street from the P & D Market (the location of
the JAVIER NATAL crack sale and just down the street from the
JOUSEPH CARABALLO drug conversation and EZEQUIEL QUINONES crack
sale to the CWs). On September 21, 2011, VALE-VALENTIN sold a CW
crack cocaine inside 111 Tallman Street. Agents on surveillance
Saw VALE-VALENTIN make a hand to hand drug sale to a customer in
a car before CW-2 arrived at 111 Tallman Street.

36. VALE-VALENTIN has a pending distribution of cocaine in

a school zone case. In that case, New Bedford Gang Unit officers

20

 
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Saw VALE-VALENTIN sell crack cocaine to a customer on the front
porch of 111 Tallman Street. Officers stopped the customer with
crack and arrested VALE-VALENTIN the next day. He has another
pending case for assault and battery and malicious destruction of
property. According to police reports, VALE-VALENTIN badly beat
his ex-girlfriend. As VALE-VALENTIN kicked in the rear fender of
the victim's car, he directed another female with him to beat the
victim as well. The victim was transported to the hospital.

J. MANUEL TORRES

37. Like VALE-VALENTIN, MANUEL TORRES has been identified
by the New Bedford Police Department as an up and coming member
of the Latin King. During one of his drug sales to an undercover
police officer, TORRES wore a sweatshirt marked with "RIP Ricky,"
a reference to the murder of RICARDO ENCARNACION. He has been
observed with other Latin Kings in the Tallman Street area,
including JAVIER NATAL and EDWIN JORGE.

38. TORRES lives in the same apartment as his mother,
SANDRA TORRES, a Latin Queen who was charged in state court with
distribution of cocaine as part of this investigation. While
conducting surveillance of SANDRA and MANUEL TORRES's apartment,
the Task Force repeatedly observed IRVIN OLIVERO, a New Bedford
drug trafficker, enter and quickly exit the TORRES’s house.
Agents saw Olivero enter and quickly exit the house on two
occasions a short time before a CW made a controlled buy from

21

 
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SANDRA TORRES. Last week, Task Force Agents arrested OLIVERO on
cocaine trafficking charges. After a short foot chase, OLIVERO
discarded 101 grams of crack cocaine.

39. On October 24, 2011, TORRES was charged with
distribution of cocaine in a school zone case. That case is
pending. He also has an open domestic assault and battery and
intimidation of a witness case. According to the police reports
in that case, on August 4, 2011, officers responded to TORRES's
ex-girlfriend's apartment, where after an argument TORRES hit her
(officers saw an observable physical injury) and punched a hole
in her flat-screen TV. While at the courthouse to obtain a
restraining order, TORRES sent her a series of texts: "You sent
the cops to my house, ok I got you," "Ok I'm gonna pay a bitch to
go in your house and fuck you up you will see," "You snitch peace
watch your back, real talk," and "They can do what they want, bye
bitch." (These texts were documented by the officer in a New
Bedford Police Report.). According to the report, TORRES also
called her and told her if she did not drop the case she was
going to get "clipped."

40. TORRES sold crack cocaine to an undercover police
officer on three occasions. All three sales took place near the
intersection of Tallman Street and Ashley Boulevard, the heart of

Latin King territory. TORRES also sold to an FBI CW inside the

22

 
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TORRES apartment. SANDRA TORRES spoke to the CW, ushered the CW
to MANUEL TORRES's room, and MANUEL TORRES sold the CW crack.

K. JESUS CARRASQUILLO

41. CARRASQUILLO has been identified by the New Bedford
Police Gang Unit as a Latin King. His New Bedford police reports
reflect several Latin King tattoos, including a pitchfork and a 5
point star. The public portion of his Facebook page includes
numerous references to the Latin Kings and taunts to law
enforcement. The section marked “Favorite Quotes” states: “Hey
feds, heard you writing my name up I kno u want me bad think I
give a fuk?” Elsewhere, it states, “how many mug shots are they
gonna take off [sic] me to they realize they ain’t gonna pin a
case on me.”

L. PEDRO FIGUEROA

42. According to the New Bedford Police Department’s Gang
Unit, FIGUEROA is a Latin King. On November 5, 2011, FIGUEROA
was arrested near the intersection of Tallman Street and Ashley
Boulevard (the scene of many of the drug sales in this case and
an area where the Latin Kings control street level drug sales).
FIGUEROA was in possession of a retail quantity of heroin, $380
in cash, and two cell phones. At the time of his arrest,
FIGUEROA was with ORLANDO CRUZ and LUIS LOPES, a/k/a “Bebe,” both
of whom have been identified by the New Bedford Police
Department’s Gang Unit as Latin Kings. That case is still open.

23

 
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On July 7, 2006, FIGUEROA was one of a group of men observed
chasing and beating a victim on Beetle Street (in Latin King
territory). According to police reports, officers pulled
FIGUEROA off the victim, who was found lying on the ground and
bleeding profusely from the forehead. When asked what had
happened, the victim replied he was walking on Beetle Street when
he was suddenly assaulted by three men, including FIGUEROA. At
booking, officers noted that FIGUEROA’s right shoe had a large
quantity of blood on it. While on release for this offense,
FIGUEROA was arrested for possession with intent to distribute
cocaine. FIGUEROA pled guilty to assault and battery by means of
a dangerous weapon and possession with intent to distribute
cocaine and received concurrent sentences of two years in prison,
nine months to serve, balance suspended for two years.

M. RAMON SANCHEZ

43. SANCHEZ has been identified as a Latin King by the New
Bedford Police Department's Gang Unit. SANCHEZ has a distinctive
tattoo on his arm of clowns and a five point crown (symbol of the
Latin Kings). On the five-month anniversary of RICARDO
ENCARNACION’s murder, SANCHEZ was seen at the street memorial
with Lain Kings TERRILL McKISSACK, PEDRO FIGUEROA, JOUSEPH

CARABALLO, a/k/a “King Massa,” SINTIA NATAL (CARABALLO’s wife),

24

 
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and ANGEL MARRERO, a Latin King who was charged in state court as
a result of the FBI’s 2007 FBI investigation.

44, On February 16, 2012, SANCHEZ pled guilty to two cases:
Assault and Battery on a Police Officer and Resisting Arrest, and
Possession with Intent to Distribute Marijuana and Cocaine. On
these cases, he was sentenced to concurrent sentences of 18
months in prison, 3 months to serve, the balance suspended with
probation for 18 months.

N. JORDAN JORGE and FELICIA TIMOTEO

45. JORGE has been identified as a Latin King by the New
Bedford Police Department Gang Unit. JORGE is the brother of
BDWIN JORGE, the witness in the JOSEPH ANDRADE murder trial who
initially refused to testify because Latin King gang members
TERRILL McKISSACK, TYRONE SOLANO (and other gang-involved
individuals) showed up in court on the day he was expected to
testify. In 2010, JORGE was charged with misleading
investigators about his actions and the actions of his brother
EDWIN JORGE before and after the ANDRADE murder. On April 20,
2012, JORGE was sentenced to two and a half years in prison, six
months to serve, balance suspended for two years. Even with
acquittals for unlawful possession of a firearm and assault and
battery by means of a firearm, JORGE has a serious record,
including convictions for possession with intent to distribute

cocaine and marijuana. He was on probation for these offenses

25

 
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when, on April 18, 2012, JORGE and his girlfriend, FELICIA
TIMOTEO, sold crack cocaine to an FBI CW. During the drug sale,
TIMOTEO was also on probation after she received a supervised
continuation without a finding for assault and battery.

0. ENOE CARRASQUILLO, JESMEIL ORTIZ, and MARI GOMEZ

46. One of the goals of this investigation was to disrupt
the drug supply to the gang. To this end, agents arrested ENOE
CARRASQUILLO, JESMIEL ORTIZ, and MARI GOMEZ for conspiring to
possess with intent to distribute cocaine for their role in
bringing large quantities of cocaine to New Bedford. On May 19,
2011, agents had information from a witness that several people
would be brining 1-2 kilograms of cocaine from a flight from
Puerto Rico to be delivered to the Latin Kings in New Bedford and
to others in Rhode Island. Agents set up surveillance in New
Bedford, where they followed a vehicle with JESMIEL ORTIZ and
MARI GOMEZ traveling to Boston's Logan Airport. ORTIZ was
observed walking into the terminal to the baggage claim area and
meeting with ENOE CARRASQUILLO, who had just arrived on a flight
from Puerto Rico. CARRASQUILLO collected several luggage bags
and ORTIZ assisted CARRASQUILLO in loading them into the car,
driven by GOMEZ. All three entered the car and traveled south on
Route 24 toward New Bedford. Investigators provided information

concerning the drug importation to a Massachusetts State Trooper,

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who stopped the vehicle on Route 495 in Raynham. After a drug
detecting dog alerted at the vehicle, the trooper searched it.
Two kilograms of cocaine were recovered inside an amplifier
inside the luggage bearing the luggage tags of JetBlue Airlines

and had CARRASQUILLO's name on them.

27

 
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IV. CONCLUSION

The Latin Kings are a violent street gang that has as a
Significant operating objective the protection of drug
trafficking and other illegal activities by its members through
violence and intimidation. Each of the Targets in this case is a
member of the gang or a significant criminal associate of the
gang. The Targets have also demonstrated that they are drug
traffickers who share the basic objectives of the gang. Each
should be detained pending trial.

Signed under the pains and penalties of perjury this 7th day

Bho F han

THOMAS F. KING
Special Agent‘
Federal Bureau of Investigation

of June, 2012.

 
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EXHIBIT 1

 
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AFFIDAVIT OF SPECIAL AGENT 3. MICHAEL DOYLE IN
SUPPORT OF PRE-TRIAL DETENTION

I, J. Michael Doyle, being duly sworn, state:

1. I ama Special Agent with the Federal Bureau of
Investigation (FBI} and have been so employed for approximately
12 years. For the last year I have been assigned to the FBI
Southeastern Massachusetts Gang Task Force (SEMGTF}). Prior to
that I wag assigned to the FBI Violent Crimes Task Force in New
York City where I investigated crimes of violence including gang-
related investigations. I have been the lead agent on a multi-
agency investigation targeting the leadership and other
significant members of the chapter of the Latin Kings operating
in New Bedford, Massachusetts. Since this investigation was
initiated in early 2006, law enforcement agents have successfully
made purchases of cocaine base from leaders, members and
associates of the Latin Kings. Almost all of these purchases
were made in New Bedford by cooperating witnesses (“CWs”) who
wore recording equipment and agreed to have their meetings and
conversations with the Targets recorded. The investigation
resulted in the indictment of 15 defendants on federal drug
charges and an additional 22 defendants on state drug charges.

2. This affidavit is not intended to set forth all of the

information that I and other law enforcement personnel have

 
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learned during this investigation, but is submitted only in
support of the pre-trial detention of the above-captioned
defendants.

3, One of SEMGTF's primary goals is to reduce firearm
violence in Southeastern Massachusetts by targeting,
investigating, and prosecuting violent street gangs. Based on
our discussions with local law enforcement and particularly
officers of the New Bedford Police Department and the Bristol
County Sheriff's Office, we determined that the New Bedford
chapter of the Latin Kings was a significant street gang
responsible for a disproportionate share of the drug trafficking
and firearm violence in New Bedford. Several officers informed
me that the Latin Kings were well-organized and controlled the
drug trade in a significant area of New Bedford centered around
the North End area of New Bedford and including North Front,
Tallman, Deane, Bullard, and Nye Streets. Task Force members
employed by the New Bedford Police Department have advised me
orally and in writing that they have been involved in hundreds of
arrests, interviews, and encounters with Latin King members in
this area and been made aware that if persons not affiliated with
the Latin Kings try to sell drugs in the area they risk being

beaten, stabbed, or shot.

 
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4. For example, in a New Bedford police report dated June
17, 2006, attached as Exhibit 1, a detective stated that the
Latin Kings are a "street gang known for its propensity for
violence and drug related activity. The Latin Kings have plagued
the North Front Street area with drugs and violence." Exhibit 1
at p. 7. Later in the report, a sergeant described how dealers
used the connected yards behind 325 North Front Street and 51
Tallman to conduct their drug transactions. "We have become very
familiar with the drug dealers that deal from this area since we
have been arresting them over and over during the last year.
Nevertheless they return to the area and continue dealing drugs.

we are constantly getting complaints from the nearby
residents who are living in this area and have to view this drug
dealing on a constant basis. We are constantly hearing from
parents that they are not able to allow their children to play in
the backyards due to the around the clock traffic of these drug
users and drug dealers,"

5. During the course of this investigation, the SEMGTF
utilized CWs to make controlled purchases of crack cocaine from
the targets largely because the targets would sell drugs only to
people they knew and trusted. In frequent interviews, the CWs

also consistently informed us that the Latin Kings not only sold

 
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erack and other drugs in and around these streets, but that they
completely controlled the drug trade in the area.

6. The majority of the drug deals charged in the above-
captioned indictments occurred in this area. The chart attached
as Exhibit 2 shows the date of each distribution, the quantity
and price of the crack cocaine gold, the defendants involved, and
the location of the sale. The map attached as Exhibit 3 shows
the location of the sales within the area. As these exhibits
demonstrate, of the 25 charged crack sales, only 8 did not occur
in the area. The deals were conducted both inside and outside,
often with one or more members of the Latin Kings present in the
same room or area.

7, Three CWs were used in the 25 drug sales charged in the
above-captioned cases. Each has been interviewed about its
knowledge of the defendants and their association with the Latin
Kings. In addition, members of SEMGTF have interviewed several
confidential informants (CIs) including one or more who are
members of the Latin Kings. In addition, I have reviewed the
records of the Bristol County House of Corrections, who keep
records of gang affiliation. Finally, I have spoken with
officers of the Bristol County Sheriff’s Office and the New
Bedford Police Department who have extensive experience with the

Latin Kings. Based on the information set forth ahove, I can

 
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state that each of the defendants listed below is a member or an

associate of the Latin Kings:
Javier Ortiz Perez, aka King Javier;
Felipe Ortiz Perez, aka King Felipe;
Ricardo Negron Cabrera, aka King Cano;
Juan Nova Roman, aka King Roman;
Diego Perez, aka King Loco;
Jorge Torres, aka King Jorge;
Luis Sostre, aka Louie;
Javier Reyes, aka King Hollywood;
Gustavo Feliciano, aka King Gustavo;
Guillermo Lugo, aka King Gilly;
Abraham Perez, aka King Diamond;
Rafael Reyes, aka King Coffee;
Juan Serrano, aka King Poppy;
Kimberly Steadman, aka Queen Keisha;
Rakeem Waller, aka King Taz.

In addition, at least three of the defendants have or had
leadership positions within the Latin Kings New Bedford Chapter:
Diego Perez (leader), Javier Ortiz-~Perez (high ranking member),
Luis Sostre (high ranking member). Even those defendants who are
associates of the Latin Kings have important relationships with
the gang. For example, a CI who is a member of the Latin Kings
stated to us that the hatin Kings previously had a violent
dispute with Rakeem Waller as a result of his attempts to sell
drugs in the area and that the dispute ended only in the last
year when Waller and leaders of the Latin Kings made a pact to
co-exist.

8. Although this investigation has initially focused on the

local activities of the New Bedford chapter of the Latin Kings, I

 
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know from my training and experience that the Latin Kings are a
national gang that was founded in the 1960s in Chicago and now
has chapters in states and cities throughout the Eastern United
States. Regional Chapters must be sanctioned by the national
leadership in Chicago. Each Regional Chapter must then sanction
its local chapters. The stated purpose of the Latin Kings was the
organization of Hispanics dedicated to overcoming an “oppressive
government" and uplifting all "third world" people. In reality
they primarily operate as a violent gang in prisons and in
cities, where they typically engage in drug trafficking to
enhance their financial strength. Indeed, the Latin Kings
operate chapters in several other Massachusetts cities and their
drug and violent activities have resulted in federal prosecutions
in Lawrence and Lowell in 2004, in greater Springfield in 2005,
and in Chelsea in 2006. The Affidavit of FBI Special Agent
Jeffrey S. Wood, attached here as Exhibit 4, explains the history
of the Latin Kings in Massachusetts in greater detail.

9. The defendants' affiliation with the Latin Kings
heightens the danger they present to the community, both because
the affiliation makes it more likely that the defendants will be
able to continue to engage in drug trafficking despite their

arrests and because of the possibility that members of the Latin

 
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Kings as a group will try to threaten or assault people who have
or are believed to have cooperated with the government in the

investigation.

Signed under the pains and penalties of perjury this 14th

day of May, 2007.

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Date Wt./ | Defendant Location
Price

05-04-06 | 1.3/ | Abraham Perez 11 Nye Street
$100 | King Diamond

05-04-06 | 1.6/ |Abraham Perez 11 Nye Street
$100 | King Diamond

05-04-06 | 2.0/ | Abraham Perez 11 Nye Street
$150 | King Diamond

05-05-06 }| 3.3/ | Kimberly Steadman 868 County Street
$300 | Queen Keisha

05-05-06 | 3.4/ | Juan Serrano 11 Nye Street
$300 | King Poppy

05-05-06 | 1.7/ | Kimberly Steadman | 868 County Street
8150 | Queen Keisha

05-08-06 } 6.7/ | Gustavo Feliciano 307 North Front Street/
$300 | King Gustavo 361 Coggeshall Street

05-09-06 | 26.6/ | Rafael Reyes 171 Ashley Boulevard
$900 | King Coffee

05-09-06 | 2.5/ | Jorge Torres 11 Nye Street
$300 | King Jorge

05-12-06 | 2.7/ | Rakeem Waller 40 Bullard Street
$300 | King Taz

05-15-06 | 3.2/ | Jorge Torres 11 Nye Street
$150 | King Jorge

05-15-06 | 1.0/ | Rakeem Waller 40 Bullard Street
$100 | King Taz

05-22-06 | 3.0/ | Guillermo Lugo 280 Acushnet Avenue
$150 | King Gilly

05-30-06 | 3.2/ | Guillermo Lugo 280 Acushnet Avenue
$150 | King Gilly

06-09-06 | 2.4/ | Rakeem Waller 40 Bullard Street
$200 | King Taz

06-21-06 | 6.8/ | Javier Reyes Tallman/North Front Street
$300 | King Hollywood

 

 

 

 

 

 

 
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08-03-06 5.4/
$300

Javier Ortiz Perez

King

Javier

Felipe Ortiz Perez

289 Hillman Street

 

08-16-06 | 6.5/
$300

Ricardo Cabrera

King

Cano

(Luis Robles)

289 Hiliman Street

 

08-23-06 | 4.8/

Javier Ortiz Perez

289 Hiliman Street

 

 

 

 

 

$100

$300 | King Javier
Juan Nova Roman

02-15-07 | 0.74/ | Juan Serrano 82 Deane Street
$120 | King Poppy

03-02-07 | 2.9/ | Juan Serrano 27 Bullard Street
$200 | King Poppy

04-09-07 */ Diego Perez 27 Bullard Street
$300 | King Loco

04-13-07 x / Diego Perez 27 Bullard Street
$100 | King Loco

04~24-07 xf Luis Sostre 83 Deane Street

 

G4~26-07 xf
5160

 

 

 

Diego Perez

King

Loco

 

27 Bullard Street

 

* exhibit confirmed to be crack cocaine, but weight not yet

received from lab

 

 
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